Case 1:10-cv-00436-SOM-RT Document 40 Filed 05/09/11 Page 1 of 9   PageID #: 763



               IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF HAWAII

 R.P.-K., through his        )           CIVIL NO. 10-00436 DAE-KSC
 parents C.K.; R.T.D.,       )
 through his parents R.D.    )           ORDER GRANTING IN PART AND
 and M.D.; and the HAWAII    )           DENYING IN PART
 DISABILITY RIGHTS CENTER,   )           PLAINTIFFS’ MOTION (1) TO
 in a representative         )           TRANSFER AND CONSOLIDATE
 capacity on behalf of its   )           CASES AND (2) TO MODIFY
 clients and all others      )           RULE 16 SCHEDULING ORDERS
 similarly situated,         )
                             )
     Plaintiffs,             )
                             )
     vs.                     )
                             )
 DEPARTMENT OF EDUCATION,    )
 State of Hawaii,            )
                             )
     Defendant.              )
 ___________________________ )

         ORDER GRANTING IN PART AND DENYING IN PART
     PLAINTIFFS’ MOTION (1) TO TRANSFER AND CONSOLIDATE
      CASES AND (2) TO MODIFY RULE 16 SCHEDULING ORDERS

             Before the Court is Plaintiffs’ Motion (1) to

 Transfer and Consolidate Cases and (2) to Modify Rule

 16 Scheduling Orders, filed March 28, 2011.                  On April

 18, 2011, Defendant filed an Opposition.                 Plaintiffs

 filed a Reply on April 25, 2011.              This matter came on

 for hearing on May 9, 2011.             Jason Kim, Esq., and John

 Dellera, Esq., appeared on behalf of Plaintiffs.

 Deputy Attorney General Steve Miyasaka appeared on
Case 1:10-cv-00436-SOM-RT Document 40 Filed 05/09/11 Page 2 of 9   PageID #: 764



 behalf of Defendant.

 A.    Consolidation

             Plaintiffs seek to consolidate this action with

 Civil Nos. 10-00641 LEK-RLP and 10-00644 LEK-KSC

 (“administrative appeals”).              They assert that

 consolidation is appropriate because all three cases

 involve common questions of law or fact.                 It is

 Plaintiffs’ position that the administrative appeals

 should be decided in connection with this action

 because discovery is limited in administrative appeals;

 inconsistent decisions may result; judicial economy

 would be served; and consolidation would obviate the

 need for separate briefing and decisions in the

 administrative appeals.

             Defendant opposes consolidation on the grounds

 that the handling of administrative appeals and regular

 civil litigation differs; that is, the administrative

 appeals will primarily be decided on the administrative

 record, while this action will involve discovery and

 the record will not be established until trial.




                                      2
Case 1:10-cv-00436-SOM-RT Document 40 Filed 05/09/11 Page 3 of 9   PageID #: 765



             A district court has broad discretion under

 FRCP 42(a) to consolidate cases pending in the same

 district.      See Investors Research Co. v. United States

 District Court, 877 F.2d 777 (9th Cir. 1989); see also

 9 Wright & Miller, Federal Practice and Procedure:

 Civil 2d § 2383.         Federal Rule of Civil Procedure 42(a)

 provides for consolidation “[w]hen actions involving a

 common question of law or fact are pending before the

 court . . . .”        Under this rule, the district court has

 broad discretion to consolidate cases pending in that

 district.      See Investors Research Co. v. United States

 Dist. Court, 877 F.2d 777 (9th Cir. 1989).                  Such

 discretion, however, is not unfettered.                 See Johnson v.

 Celotex Corp., 899 F.2d 1281, 1285 (2d Cir. 1990).                     The

 court should weigh the time and effort that

 consolidation would save against any inconvenience,

 delay, or expense it would cause.               See Huene v. United

 States, 743 F.2d 703, 704 (9th Cir. 1984).                  In

 particular, the court should consider:

             [W]hether the specific risks of prejudice
             and possible confusion [are] overborne by
             the risk of inconsistent adjudications of
             common factual and legal issues, the

                                         3
Case 1:10-cv-00436-SOM-RT Document 40 Filed 05/09/11 Page 4 of 9   PageID #: 766



             burden on parties, witnesses, and
             available judicial resources posed by
             multiple lawsuits, the length of time
             required to conclude multiple suits as
             against a single one, and the relative
             expense to all concerned of the
             single-trial, multiple-trial alternatives.

 Johnson, 899 F.2d at 1285 (quoting Hendrix v.

 Raybestos-Manhattan, Inc., 776 F.2d 1492, 1495 (11th

 Cir. 1985)) (alterations in original).                The court may

 also consider whether potential prejudice from

 consolidation may be avoided through jury instructions

 and special verdict forms.            See id.     Ultimately,

 “[c]onsiderations of convenience and economy must yield

 to a paramount concern for a fair and impartial trial.”

 Id. (citing Flintkote Co. v. Allis-Chalmers Corp., 73

 F.R.D. 463 (S.D.N.Y. 1977)).

            Rule 40.2 of the Local Rules of Practice of the

 United States District Court for the District of Hawaii

 (“Local Rules”) provides for consolidation where the

 cases

             involve the same or substantially
             identical transactions, happenings, or
             events, or the same or substantially the
             same parties or property or subject
             matter, or the same or substantially
             identical questions of law, or for any

                                         4
Case 1:10-cv-00436-SOM-RT Document 40 Filed 05/09/11 Page 5 of 9   PageID #: 767




             other reason said cases could be more
             expeditiously handled if they were all
             heard by the same judge, then the chief
             district judge or any other district judge
             appointed by the chief district judge in
             charge of the assignment of cases may
             assign such cases to the same judge.

 Local Rule 40.2.

             Here, consolidation is inappropriate.                 Although

 the Court acknowledges that the 3 cases at issue

 involve common questions of law or fact, consolidation

 would not promote judicial economy nor the expeditious

 handling of the cases.           In fact, the Court believes

 that consolidation would probably interfere with and or

 impeded the orderly administration of justice under the

 present circumstances.           Civil Nos. 10-00641 LEK-RLP and

 10-00644 LEK-KSC are administrative appeals, which are

 not only governed by a different standard of review,

 but which the Court handles very differently from a

 typical civil case that proceeds to trial.1                  Based on

 the record before the Court, consolidation would


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        At the Rule 16 Scheduling Conference, the Court
 sets a briefing schedule. Following the filing of an
 opening brief, responsive brief, and reply brief, oral
 arguments are ordinarily held, then a decision issues.
                                      5
Case 1:10-cv-00436-SOM-RT Document 40 Filed 05/09/11 Page 6 of 9   PageID #: 768




 needlessly prolong the disposition of the

 administrative appeals, as trial in this case will

 proceed well after decisions are issued in the

 administrative appeals.           Indeed, in Civil No. 10-00644

 LEK-KSC, briefing will be completed by June 14, 2011,

 and Judge Kobayashi has scheduled oral arguments for

 July 25, 2011.        By contrast, trial in this case

 commences on October 25, 2011, assuming there are no

 continuances.

             As an alternative, Plaintiffs’ counsel

 suggested, at the hearing, that the cases be

 consolidated but that the administrative appeals be

 stayed pending the disposition of the instant action.

 This request is not properly before the Court.

 However, the Court notes that even if a stay would be

 imposed following consolidation, the Court would

 decline to consolidate.           It would make little sense to

 consolidate the cases only to then stay a portion of

 the litigation.

             For the aforementioned reasons, the Court, in

 its broad discretion, denies the Motion to the extent

                                      6
Case 1:10-cv-00436-SOM-RT Document 40 Filed 05/09/11 Page 7 of 9    PageID #: 769




 it seeks to consolidate this action with Civil Nos. 10-

 00641 LEK-RLP and 10-00644 LEK-KSC.               Neither is the

 Court able to consolidate Civil No. 10-00641 LEK-RLP

 with Civil No. 10-00644 LEK-KSC.              Defendant asserted

 that it would not object to the consolidation of the

 administrative appeals.           If the parties wish to

 consolidate said cases, they need to file a motion for

 Judge Puglisi’s consideration.              If the administrative

 appeals are consolidated, Judge Puglisi will be the

 assigned magistrate judge, as the older case is the

 lead case following consolidation.

 B.    Amendment of the Scheduling Order

             Plaintiffs additionally seek to extend the May

 25, 2011 dispositive motions deadline by 120 days, and

 to extend other deadlines as necessary.                 A scheduling

 order “may be modified only for good cause and with the

 judge’s consent.”         Fed. R. Civ. P. 16(b)(4).               The good

 cause inquiry focuses on the diligence of the party

 seeking to modify the scheduling order; if the party

 seeking the modification was not diligent, the motion

 should be denied.         See Zivkovic v. S. Cal. Edison Co.,

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Case 1:10-cv-00436-SOM-RT Document 40 Filed 05/09/11 Page 8 of 9    PageID #: 770




 302 F.3d 1080, 1087 (9th Cir. 2002).                “The pretrial

 schedule may be modified ‘if it cannot reasonably be

 met despite the diligence of the party seeking the

 extension.’”       Id. (quoting Johnson v. Mammoth

 Recreations, Inc., 975 F.2d 604, 609 (9th Cir. 1992)).

 Prejudice to the non-moving party may serve as an

 additional reason to deny the motion, but the lack of

 prejudice to the non-moving party does not justify

 granting the motion if the moving party was not

 diligent.      See Johnson, 975 F.2d at 609.

             In view of the recent class certification, the

 Court finds that Plaintiffs have established good cause

 for a short continuance of the dispositive motions

 deadline.      However, because trial is scheduled for

 October 25, 2011, a 120 day extension is excessive.

 Instead, the Court will extend the deadline to July 8,

 2011.     An extension beyond July 8, 2011, may not allow

 adequate time for the district judge to hear the

 dispositive motions prior to the trial date.                      Local

 Rule 7.3 (“Unless otherwise ordered by the court, all

 dispositive motions shall be heard no later than

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Case 1:10-cv-00436-SOM-RT Document 40 Filed 05/09/11 Page 9 of 9   PageID #: 771




 thirty-five (35) days (five weeks) prior to the

 scheduled trial date.”).

                                CONCLUSION

             Based on the foregoing, the Court HEREBY GRANTS

 IN PART AND DENIES IN PART Plaintiffs’ Motion (1) to

 Transfer and Consolidate Cases and (2) to Modify Rule

 16 Scheduling Orders, filed March 28, 2011.                  The Motion

 is GRANTED to the extent that the dispositive motions

 deadline is continued to July 8, 2011.                The balance of

 the Motion is DENIED.

             IT IS SO ORDERED.

             DATED:      Honolulu, Hawaii, May 9, 2011.




                                    _____________________________
                                    Kevin S.C. Chang
                                    United States Magistrate Judge




 CV 10-00436 DAE-KSC; R.P.-K., et al. v. DEPARTMENT OF EDUCATION; ORDER
 GRANTING IN PART AND DENYING IN PART PLAINTIFFS’ MOTION (1) TO
 TRANSFER AND CONSOLIDATE CASES AND (2) TO MODIFY RULE 16 SCHEDULING
 ORDERS




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